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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
────────────────────────────────────
UNITED STATES OF AMERICA

           - against -                          12 Cr. 117 (JGK)

WILLIAM MASSO,                                  MEMORANDUM OPINION AND
                                                ORDER
                    Defendant.
────────────────────────────────────
JOHN G. KOELTL, District Judge:

     The defendant moves to correct his sentence pursuant to

Federal Rule of Criminal Procedure 36 which gives the Court the

power to correct a clerical error in a judgment or order.              The

defendant argues that he should be afforded credit for the time

that he spent in home confinement prior to the time that his

sentence was imposed.

     The application is actually for the Court to reduce the

defendant’s sentence by crediting him with time spent in home

confinement prior to the sentence.       That is plainly not the

correction of a judgment for clerical error.        Moreover, the date

from which a defendant’s time is measured to begin the

defendant’s sentence is a matter committed to the Bureau of

Prisons.   See United States v. Whaley, 148 F.3d 205, 207–07 (2d

Cir. 1998); see also United States v. Gullatti, No. 06 CR. 481,

2009 WL 3490285, at *1 (S.D.N.Y. Oct. 28, 2009).

     Furthermore, time spent in home confinement is generally

not considered to be time in prison for which the defendant is

afforded credit.   See United States v. Edwards, 960 F.2d 278,
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283 (2d Cir. 1992), rev’d on other grounds by United States v.

Wilson, 503 U.S. 329 (1992).

     The defendant’s application for the alleged correction of

his judgment of conviction is denied.           The defendant may, of

course, make any applications to the Bureau of Prisons.

SO ORDERED.

Dated:       New York, New York
             April 1, 2013                 ____________/s/________________
                                                  John G. Koeltl
                                            United States District Judge




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